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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 PRIORITIES USA, RISE INC., and
 THE DETROIT/DOWNRIVER
 CHAPTER OF THE A. PHILIP
 RANDOLPH INSTITUTE,

           Plaintiffs,                       Case No. 19-cv-13341

 v.                                          Honorable Stephanie Dawkins Davis
                                             Magistrate Judge Kimberly G. Altman
 DANA NESSEL, in her
 official capacity as Attorney General
 of the State of Michigan,

           Defendants

 and

 THE MICHIGAN SENATE, THE
 MICHIGAN HOUSE OF REPRESENTATIVES,
 THE MICHIGAN REPUBLICAN PARTY and THE
 REPUBLICAN NATIONAL COMMITTEE,

       Intervening Defendants.
                                    /
      THE MICHIGAN SENATE AND THE MICHIGAN HOUSE OF
  REPRESENTATIVES’ RULE 12(C) MOTION FOR JUDGMENT ON THE
                        PLEADINGS

       The Michigan Senate and the Michigan House of Representatives (“the

 Legislature”) move for judgment on the pleadings under Federal Rule of Civil

 Procedure 12(c) to dismiss Plaintiffs’ last surviving claims challenging Michigan’s

 election laws.
Case 4:19-cv-13341-SDD-KGA ECF No. 113, PageID.1884 Filed 09/24/21 Page 2 of 30




       In 2019, Plaintiff Priorities USA (“Plaintiff”) filed this action challenging two

 Michigan election laws in 2019. In January 2020, Plaintiff amended its Complaint,

 adding two new plaintiffs and asserting a total of eight claims. This Court dismissed

 Counts III and VII of Plaintiffs’ Amended Complaint. ECF No. 59. Plaintiffs are no

 longer pursuing Counts I and VIII. Four counts remain: Counts II, IV, V, and VI.

 Plaintiffs concede that these claims turn on purely legal issues. ECF No. 23-1,

 PageID.319. And the Sixth Circuit held that the Legislature has “made a strong

 showing that it was likely to prevail on the merits.” Priorities USA v. Nessel, No.

 20-1931, __ F. App’x __, 2021 WL 3044270, at *2 (6th Cir. July 20, 2021). This

 Court should award judgment on the pleadings in favor of the Legislature. The

 Legislature relies on the arguments and authorities found in its accompanying brief

 in support. As Local Rule 7.1(a) requires, the Legislature contacted Plaintiffs’

 counsel on September 24, 2021 to ask whether counsel would concur in the motion.

 Plaintiffs’ counsel did not concur.

       WHEREFORE the Legislature respectfully asks that this Court enter

 judgment on the pleadings as to all remaining claims.


                                        Respectfully submitted,

                                        BUSH SEYFERTH PLLC
                                        Attorneys for the Michigan Senate and the
                                        Michigan House of Representatives

                                        By:/s/Roger P. Meyers
                                           2
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 Dated: September 24, 2021




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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 PRIORITIES USA, RISE INC., and
 THE DETROIT/DOWNRIVER
 CHAPTER OF THE A. PHILIP
 RANDOLPH INSTITUTE,

           Plaintiffs,                    Case No. 19-cv-13341

 v.                                       Honorable Stephanie Dawkins Davis
                                          Magistrate Judge Kimberly G. Altman

 DANA NESSEL, in her
 official capacity as Attorney General
 of the State of Michigan,

           Defendants

 and

 THE MICHIGAN SENATE, THE
 MICHIGAN HOUSE OF REPRESENTATIVES,
 THE MICHIGAN REPUBLICAN PARTY and THE
 REPUBLICAN NATIONAL COMMITTEE,

       Intervening-Defendants.
                                    /


       BRIEF IN SUPPORT OF THE MICHIGAN SENATE AND THE
             MICHIGAN HOUSE OF REPRESENTATIVES’
       RULE 12(C) MOTION FOR JUDGMENT ON THE PLEADINGS
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              CONCISE STATEMENT OF ISSUES PRESENTED

    1. Given the Sixth Circuit’s two recent published opinions declaring that
       Plaintiffs’ preemption claim fails as a matter of law as to the Voter
       Transportation Ban, and given this Court’s and the Sixth Circuit’s other
       rulings, should this Court dismiss Plaintiffs’ remaining claims under Fed. R.
       Civ. P. 12(c), where:

          a. Plaintiffs’ vagueness and overbreadth challenges (Counts I and V), fail
             because the Sixth Circuit has held that the Absentee Ballot Law is
             “readily understood by a person of ordinary intelligence” (Count I), and
             Plaintiffs have therefore agreed to withdraw this claim, and this Court
             has likewise held that the Voter Transportation Law is “relatively
             straightforward and unambiguous?” (Count V);

          b. Plaintiffs’ First Amendment Challenges to the laws (Counts II and VI)
             fail because, under recent Sixth Circuit precedent, the Anderson-
             Burdick standard of review applies, and both statutes minimally burden
             Plaintiffs’ First Amendment rights and further compelling state
             interests?; and

          c. Plaintiffs’ Federal Election Campaign Act preemption claims (Count
             IV and VIII) fail where Plaintiffs do not allege that the Absentee Ballot
             Law creates an undue burden to their own rights as opposed to third
             party rights (Count IV) and Plaintiffs have represented that they will
             voluntarily dismiss their Voter Transportation Law preemption claim
             (Count VIII) in light of the Sixth Circuit’s rulings?


                The Michigan Legislature says Yes.

                This Court should say Yes.




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          CONTROLLING AND MOST APPROPRIATE AUTHORITY

  Fed. R. Civ. P. 12(c)

  Crawford v. Marion Cty. Election Bd., 553 U.S. 181 (2008)

  Ohio Democratic Party v. Husted, 834 F.3d 620 (6th Cir. 2016)

  Platt v. Board of Commissioners on Grievances & Discipline of Ohio Supreme
  Court, 894 F.3d 235 (6th Cir. 2018)
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  (2008)




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  I.    INTRODUCTION

        Between the several decisions issued by this Court in this case and the two

  subsequently issued by the Sixth Circuit, every one of Plaintiffs’ claims has been

  analyzed and rejected as a matter of law. Judgment on the pleadings is appropriate.

        Preserving free and fair elections is everyone’s goal. The people of Michigan

  have, through the constitution, “specifically commanded” the Legislature to further

  this objective by passing laws that “‘preserve the purity of elections’” and ‘“guard

  against abuses of the elective franchise.’” In re Request for Advisory Opinion

  Regarding Constitutionality of 2005 PA 71, 740 N.W.2d 444 (Mich. 2007) (quoting

  Mich. Const. art. 2, § 4). The two laws challenged here—the Voter Transportation

  Law (Mich. Comp. Laws §168.931(1)(f)) and the Absentee Ballot Law (Mich.

  Comp. Laws § 168.759)—do exactly that.

        The Voter Transportation Law (Mich. Comp. Laws §168.931(1)(f)) has been

  on the books since 1895 and is “assuredly aimed at preventing a kind of voter fraud

  known as ‘vote-hauling,”’ a “classic form of bribery” in which one party pays a voter

  to ‘“haul himself or herself to the polls to vote.’” Priorities USA v. Nessel, 978 F.3d

  976, 983-84 (6th Cir. 2020) (“Priorities I”). The Absentee Ballot Law (Mich. Comp.

  Laws § 168.759) is aimed at “preventing fraud and abuse in the absentee ballot

  application process and maintaining public confidence in the absentee voting

  process.” Priorities USA v. Nessel, 487 F. Supp. 3d 599, 615 (E.D. Mich. 2020),
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  rev’d on other grounds by Priorities USA v. Nessel, No. 20-1931, __ F. App’x __,

  2021 WL 3044270, at *2 (6th Cir. July 20, 2021) (“Priorities II”).

        After nearly two years of litigation and several decisions from this Court and

  the Sixth Circuit, only four of Plaintiffs’ eight claims remain: Counts II, IV, V, and

  VI.1 Each of these remaining claims has been analyzed and rejected as a matter of

  law, and should be dismissed for the following reasons:

        Count II’s First Amendment challenge to the Absentee Ballot Law should be

  dismissed because this Court has already found the statute “constitutional” as a

  matter of law. Priorities USA, 487 F. Supp. 3d at 612, 614. Count IV’s preemption

  challenge to the Absentee Ballot Law should be dismissed because it rests entirely

  upon injuries to third parties, which, as this Court has already decided, Plaintiffs lack

  standing to assert. See id. at 808-9. Count V’s vagueness challenge to the Voter

  Transportation Ban should be dismissed because it has already been rebuffed by both

  this Court and the Sixth Circuit. See Priorities USA, 487 F. Supp. 3d at 621 (finding

  “the Voter Transportation Law to be relatively straightforward and unambiguous”);

  Priorities I, 978 F.3d at 983 (the plain language of the statute is “assuredly aimed at

  preventing a kind of voter fraud known as ‘vote-hauling’”). Finally, the Sixth Circuit

  has signaled that Count VI’s First Amendment challenge to the Voter Transportation


  1
   This Court dismissed Counts III and VII in its order granting in part Defendant
  Nessel’s Motion to Dismiss, ECF No. 59, and Plaintiffs no longer intend to pursue
  Counts I and VIII, see Rule 26(f) Report, ECF No. 109, PageID.1852-1853.

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  Law should be dismissed because it fails as a matter of law under the Anderson-

  Burdick framework. See Priorities USA v. Nessel, No. 20-1931, __ F. App’x __,

  2021 WL 3044270, at *2 (6th Cir. July 20, 2021) (“Priorities II”) (the Voter

  Transportation Law is “not a severe burden on [Plaintiffs’] rights” and the state’s

  “interest in preventing voter fraud is an important regulatory interest”).

        With no viable claims remaining, judgment on the pleadings is appropriate.

  II.   STATEMENT OF FACTS AND PROCEDURAL HISTORY

        The Court and parties have summarized the facts, relevant statutory schemes,

  and procedural history several times. See, e.g., Priorities USA, 487 F. Supp. 3d at

  604-08. Plaintiff Priorities USA filed this lawsuit in November 2019, asserting eight

  claims challenging the Voter Transportation Law and Absentee Ballot Law.

        The Voter Transportation Law (Mich. Comp. Laws § 168.931(1)(f)) says:

               A person shall not hire a motor vehicle or other
               conveyance or cause the same to be done, for conveying
               voters, other than voters physically unable to walk, to an
               election.

  In relevant part, the Absentee Ballot Law (Mich. Comp. Laws § 168.759) says:

               A person shall not be in possession of a signed absent voter
               ballot application except for the applicant; a member of
               the applicant's immediate family; a person residing in the
               applicant's household; a person whose job normally
               includes the handling of mail, but only during the course
               of his or her employment; a registered elector requested by
               the applicant to return the application; or a clerk, assistant
               of the clerk, or other authorized election official. A
               registered elector who is requested by the applicant to


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               return his or her absent voter ballot application shall sign
               the certificate on the absent voter ballot application.

        Shortly after filing, Priorities USA amended its Complaint to add the other

  two plaintiffs. See ECF No. 17. In January 2020, Plaintiffs moved for a preliminary

  injunction. ECF No. 22. A few months later, this Court granted in part Defendant

  Nessel’s motion under Fed. R. Civ. P. 12(b)(6) and dismissed Counts III and VII.

  ECF No. 59, PageID.962.

        This left Plaintiffs with six claims:

           • Count I asserts that the Absentee Ballot Law “is unconstitutionally
             vague and overbroad.” Amended Complaint, ECF No. 17, PageID.112.

           • Count II asserts that the Absentee Ballot Law “violates speech and
             associational rights protected by the First and Fourteenth
             Amendments.” Id. at PageID.114.

           • Count IV asserts that the Absentee Ballot Law is preempted by Section
             208 of the Voting Rights Act, 52 U.S.C. § 10508. Id. at PageID.118.

           • Count V asserts that the Voter Transportation Law                        is
             “unconstitutionally vague and overbroad.” Id. at PageID.121.

           • Count VI asserts that the Voter Transportation Law “violates speech
             and associational rights protected by the First and Fourteenth
             Amendments.” Id. at PageID.122.

           • Count VIII asserts that the Voter Transportation Law is pre-empted by
             52 U.S.C. § 30143 of the Federal Election Campaign Act (FECA). Id.
             at PageID.125.

        In September 2020, this Court granted in part and denied in part Plaintiffs’

  request for a preliminary injunction. It first held that Plaintiffs were not likely to

  succeed on any of their claims against the Absentee Ballot Law and, thus, declined

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  to enjoin it. See Priorities USA, 487 F. Supp. 3d at 612, 616, 620. The Court did

  enjoin the Voter Transportation Law, reasoning that Plaintiffs were likely to succeed

  only on their federal preemption claim. Id. at 625. The Court declined to stay its

  injunction. ECF No. 92. The Legislature appealed, and in October 2020, the Sixth

  Circuit granted the Legislature’s motion to stay the preliminary injunction. Priorities

  I, 978 F.3d at 976. Just a few weeks ago, the Sixth Circuit reiterated its initial

  holdings in its ruling on the merits of the appeal, reversing the preliminary injunction

  and remanding the case. Priorities II, 2021 WL 3044270, at *1. Given the purely

  legal nature of the remaining claims, this case is ripe for decision.

  III.   LEGAL STANDARD

         A motion for judgment on the pleadings under Rule 12(c) “generally follows

  the same rules as a motion to dismiss the complaint under Rule 12(b)(6). Bates v.

  Green Farms Condo. Ass’n, 958 F.3d 470, 480 (6th Cir. 2020). A Rule 12(c) motion

  “is granted when no material issue of fact exists and the party making the motion is

  entitled to judgment as a matter of law.” Paskvan v. City of Cleveland Civil Serv.

  Comm’n, 946 F.2d 1233, 1235 (6th Cir.1991).

         For a complaint to survive a Rule 12(c) motion, it must contain “either direct

  or inferential allegations respecting all material elements necessary for recovery

  under a viable legal theory.” D’Ambrosio v. Marino, 747 F.3d 378, 383 (6th Cir.

  2014). This “requires more than labels and conclusions, and a formulaic recitation


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  of the elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550

  U.S. 544, 555 (2007).

        In evaluating a motion for judgment on the pleadings, a court must focus only

  on the allegations in the pleadings. Bates, 958 F.3d at 483. Though this Court must

  accept as true “all well-pleaded material allegations of the pleadings,” it “need not

  accept . . . legal conclusions or unwarranted factual inferences.” JPMorgan Chase

  Bank, N.A. v. Winget, 510 F.3d 577, 581–82 (6th Cir. 2007) (internal citations

  omitted).

  IV.   ARGUMENT

        Plaintiffs’ remaining claims must be dismissed under Rule 12(c). Plaintiffs no

  longer plan to pursue Count I’s vagueness challenge to the Absentee Ballot Law, so

  it should be dismissed. See 26(f) Report, ECF No. 109 at PageID.1852-1853.

  Plaintiffs are dropping Count I because of this Court’s preliminary injunction order,

  which held that the Absentee Ballot Law is “readily understood by a person of

  ordinary intelligence.” Priorities USA, 487 F. Supp. 3d at 616. Because this Court

  similarly found the Voter Transportation Law to be “straightforward and

  unambiguous,” Count V’s vagueness challenge to the Voter Transportation Law

  should be dismissed as well. Id. at 621. Counts II and VI allege First Amendment

  challenges to each law. Because both laws further important regulatory interests

  while minimally burdening Plaintiffs’ constitutional rights, each should be


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  dismissed. Count IV’s preemption claim ought to be dismissed because it rests

  entirely on injuries suffered by third parties which Plaintiffs lack standing to assert.

  See Amended Complaint, ECF No. 17, PageID.118-121 (only injuries alleged are to

  unidentified voters with language barriers, disabilities, or who otherwise face

  difficulties with their absentee ballot); Priorities USA v. Nessel, 462 F. Supp. 3d 792,

  808 (E.D. Mich. 2020) (finding that Plaintiffs cannot meet prudential standing

  requirements). Finally, Count VIII’s preemption claim should be dismissed because,

  in light of the Sixth Circuit’s July decision, Plaintiffs no longer plan to pursue it. See

  Priorities II, 2021 WL 3044270; 26(f) Report, ECF No. 109, PageID.1852.

        A. Counts I and V: Plaintiffs’ overbreadth and vagueness challenges
           should be dismissed because a person of ordinary intelligence would
           readily understand both statutes at issue.

        Plaintiffs decided to abandon Count I after reviewing the Sixth Circuit’s

  opinions and “this Court’s decision on Plaintiffs’ motion for a preliminary

  injunction.” Rule 26(f) Report, ECF No. 109, PageID.1852. There, this Court noted

  that the Sixth Circuit construed the Absentee Ballot Law’s key language (“solicit”)

  as making “the prohibited conduct or speech . . . readily understood by a person of

  ordinary intelligence.” Priorities USA, 487 F. Supp. 3d at 616 (citing Platt v. Board

  of Commissioners on Grievances & Discipline of Ohio Supreme Court, 894 F.3d

  235 (6th Cir. 2018)).

        Crucially, this Court noted that just because a statute does not define a term


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  does not mean that term is ambiguous: “where a statutory term is undefined, courts

  give it its ordinary meaning” using, for example, a dictionary. Id. (citing United

  States v. Wright, 774 F.3d 1085, 1088 (6th Cir. 2014)). Given these holdings, the

  parties agree that Count I is no longer viable.

        Although Plaintiffs refuse to admit it, Count V is nonviable for the same

  reasons. This Court’s same preliminary injunction order held that the Voter

  Transportation Law is “relatively straightforward and unambiguous.” See Priorities

  USA, 487 F. Supp. 3d at 621. As a matter of law, a “straightforward and

  unambiguous” statute provides “people of ordinary intelligence a reasonable

  opportunity to understand what conduct it prohibits.” Hill v. Colorado, 530 U.S. 703,

  732 (2000). Nor did the Sixth Circuit have a problem interpreting the Voting

  Transportation Law. It recognized that the statute was “clearly” a “prophylactic rule”

  intended to prevent “a kind of voter fraud known as ‘vote-hauling.’” See Priorities

  I, 978 F.3d at 983. In short, both this Court and the Sixth Circuit found the Voter

  Transportation Law clear and intelligible

        A glance at the Voter Transportation Law’s language confirms its

  straightforwardness: “A person shall not hire a motor vehicle or other conveyance

  or cause the same to be done, for conveying voters, other than voters physically

  unable to walk, to an election.” Mich. Comp. Laws § 168.931(1)(f). No word or

  phrase in that provision is ambiguous or confusing. Its meaning is plain: you can’t


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  pay someone to take an ambulatory voter to the polls. It is not vague or overbroad.

        Plaintiffs instead attempt to muddy the statute’s clear message with a slew of

  hypotheticals. See Amended Complaint, ECF No. 17, PageID.121-122. But since

  Plaintiffs have mounted a facial challenge to the Voter Transportation Law,

  hypotheticals are not enough. “[I]n determining whether a law is facially invalid, we

  must be careful not to go beyond the statute’s facial requirements and speculate

  about ‘hypothetical’ or ‘imaginary’ cases.” Washington State Grange v. Washington

  State Republican Party, 552 U.S. 442, 449–50 (2008); see also United States v.

  Raines, 362 U.S. 17, 22 (1960) (“The delicate power of pronouncing an Act of

  Congress unconstitutional is not to be exercised with reference to hypothetical cases

  thus imagined.”). “[A] rule is not unconstitutionally vague because a plaintiff

  presents” a “clever hypothetical,” and any “close questions” should be left for

  appropriate enforcement agencies to confront upon “a complete factual picture.”

  Platt, 894 F.3d at 251.

        Instead, a facial challenge requires Plaintiffs to “‘establish that no set of

  circumstances exists under which the Act would be valid,’ i.e., that the law is

  unconstitutional in all of its applications.” Washington State Grange, 552 U.S. at

  449 (internal citation omitted). A facial challenge like Plaintiffs’ “must fail where

  the statute has a ‘plainly legitimate sweep’ and imposes ‘“only a limited burden on

  voters’ rights.”’ Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 202 (2008)


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  (internal citations omitted).

        The Sixth Circuit has already recognized the “plainly legitimate” ends served

  by the Voter Transportation Law. It is “assuredly aimed at preventing a kind of voter

  fraud known as ‘vote-hauling.”’ Priorities I, 978 F.3d at 983. The prohibition is “a

  reasonable, nondiscriminatory restriction justified” by the state’s legitimate and

  “important regulatory interest” in preventing fraud. Priorities II, 2021 WL 3044270,

  at *2. Plaintiffs’ hypotheticals can’t overcome this critical state interest and do not

  “qualify as a substantial burden on the right to vote” in the context of a facial

  challenge. Crawford, 553 U.S. at 198.

        The Court should therefore award the Legislature judgment on the pleadings

  as to Counts I and V.

        B. Counts II and VI: Plaintiffs’ First Amendment challenges fail because
           Plaintiffs do not allege a burden sufficient to overcome the state’s
           important regulatory interest in preventing voter fraud.

        Counts II and VI assert First and Fourteenth Amendment violations against

  the Absentee Voter and Voter Transportation laws, respectively. The Sixth Circuit

  articulated in detail the applicable standard for such claims:

        We “generally evaluate First Amendment challenges to state election
        regulations” using the Anderson-Burdick framework. Schmitt v.
        LaRose, 933 F.3d 628, 639 (6th Cir. 2019). Under that framework,
        “[l]aws imposing ‘severe burdens on plaintiffs’ rights’ are subject to
        strict scrutiny, but ‘lesser burdens ... trigger less exacting review, and a
        State’s important regulatory interests will usually be enough to justify
        reasonable, nondiscriminatory restrictions.’ ” Ibid. (quoting Timmons
        v. Twin Cities Area New Party, 520 U.S. 351, 358 (1997)). Moreover,


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        “[b]ecause plaintiffs have advanced a broad attack on the
        constitutionality of [the statute], seeking relief that would invalidate the
        statute in all its applications, they bear a heavy burden of persuasion.”
        Ohio Democratic Party v. Husted, 834 F.3d 620, 627 (6th Cir. 2016).

  Priorities II, 2021 WL 3044270, at *2 n.3 (cleaned up). In other words, a court will

  strictly scrutinize severe restrictions while reasonable, nondiscriminatory

  restrictions need only be rationally based.2


  2
    Plaintiffs may argue that because this Court’s May 2020 order ruled that the
  exacting scrutiny standard applies to both statutes, see Priorities USA v. Nessel, 462
  F. Supp. 3d 792 (E.D. Mich. 2020) (“MTD Order”), the Legislature cannot challenge
  that ruling under the Court’s scheduling order, which limits Defendants’ Rule 12(c)
  motions to “issues not already addressed and resolved” by the MTD Order. See ECF
  No. 110, PageID.1874. This Court’s MTD Order, however, did not address the
  standard of review analysis in Priorities II because Priorities II was not issued until
  more than a year later. Furthermore, none of this Court’s orders have addressed the
  recent, binding Sixth Circuit precedent that makes it clear that the Sixth Circuit
  applies Anderson-Burdick to virtually all constitutional challenges to state election
  laws, including specifically those based upon the First and Fourteenth Amendment.
  See, e.g., Thompson v. DeWine, 959 F.3d 804, 811 (6th Cir. 2020) (applying
  Anderson-Burdick balancing test to Ohio’s requirements for collecting signatures for
  ballot initiatives, which burdened the plaintiffs’ First Amendment rights); Memphis
  A. Philip Randolph Inst. v. Hargett, 978 F.3d 378, 390 (6th Cir. 2020) (“Anderson-
  Burdick … certainly governs [the plaintiffs’] claim that the signature verification
  procedure violates the fundamental right to vote.”); Hawkins v. DeWine, 968 F.3d
  603, 605 (6th Cir. 2020) (applying Anderson-Burdick to First Amendment election
  challenges); Daunt v. Benson, 999 F.3d 299, 314 (6th Cir. 2021) (“Daunt II”)
  (“Anderson-Burdick applies to a wide array of claims touching on the election
  process, including First Amendment and Equal Protection claims’”). Cf. Brnovich v.
  Democratic Nat’l Comm., 141 S. Ct. 2321, 2340 (2021) (for purposes of VRA,
  statute making it a crime for any person other than a postal worker, election office,
  or voter’s caregiver, family member or household member to collect and deliver
  another person’s early mail-in ballot was a “facially neutral time, place, or manner
  voting rule.”); DSCC v. Simon, 950 N.W.2d 280, 295 (Minn. 2020) (rejecting
  Buckley-Meyer in favor of Anderson-Burdick as constitutional test of validity of
  ballot collection restriction). The Legislature’s arguments based upon this case’s

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        Plaintiffs fail to meet their heavy burden for either law.

               1. Count II: The Absentee Voter Law minimally burdens Plaintiffs’
                  First Amendment rights and furthers compelling state interests.

        The Absentee Voter Law does not severely burden Plaintiffs’ First

  Amendment rights. “The hallmark of a severe burden is exclusion or virtual

  exclusion from the ballot.” Libertarian Party of Ky. v. Grimes, 835 F.3d 570, 574

  (6th Cir. 2016). Yet nowhere in Plaintiffs’ Amended Complaint do they allege that

  the Absentee Voter Law has “excluded or virtually excluded” them from the ballot.

  This Court previously held that the law prevents Plaintiffs from engaging in “speech

  that would facilitate the collection and return of signed absentee ballot applications

  from Michigan voters.” Priorities USA, 487 F. Supp. 3d at 614. Even so, Plaintiffs

  can still engage in other meaningful speech to the same end and can respond to any

  voter request to return an application. Id. at 614–15. For example, the law allows

  Plaintiffs to encourage people to use the absentee ballot process, to instruct people

  how to fill out these applications or ballots, and to instruct people how to properly

  submit ballots under the provisions. Further, voters can return their ballots in many

  other ways. Id. at 615. The law’s restrictions therefore do not impose a “severe

  burden,” and rational basis review is proper here.

        This Court has held that “whether the court applies exacting scrutiny or a


  subsequent history and other subsequent authority have not been “already addressed
  and resolved” by the Court’s MTD order.

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  rational basis standard of review, . . . the Absentee Ballot Law” survives. Priorities

  USA, 487 F. Supp. 3d at 612. This is because the Absentee Ballot Law has a

  “substantial relationship to a sufficiently important governmental interest,” the

  strength of which reflects “the seriousness of the actual burden on First Amendment

  rights.” Id. The state interest here is ensuring a secure election. See Crawford, 553

  U.S. at 196 (“[T]here is no question about the legitimacy and importance of the

  State’s interest in counting only the votes of eligible voters.”); Purcell v. Gonzalez,

  549 U.S. 1, 4 (2006) (“Confidence in the integrity of our electoral processes is

  essential to the functioning of our participatory democracy.”); accord John Doe No.

  1 v. Reed, 561 U.S. 186 (2010). This interest is “particularly strong” when the state

  prevents fraud. Priorities USA, 487 F. Supp. 3d at 613. “A State indisputably has a

  compelling interest in preserving the integrity of its election processes. Limiting the

  classes of persons who may handle early ballots to those less likely to have ulterior

  motives deters potential fraud and improves voter confidence.” Brnovich v.

  Democratic Nat’l Comm., 141 S. Ct. 2321, 2347 (2021) (cleaned up).

        Here, this Court has already accepted the Legislature’s many cases from

  across the country “along with other supporting evidence” showing “that the

  absentee ballot process is susceptible to fraud.” Priorities USA, 487 F. Supp. 3d at

  613 (listing many appellate opinions and secondary sources). It has recognized the

  wealth of evidence highlighting the risk of fraud inherent to the absentee ballot


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  application and submission process. Indeed, courts agree that these processes are

  susceptible to many “potential abuses.” Id. at 614 (citing League of Women Voters

  of Fla. v. Browning, 575 F. Supp. 2d 1298, 1300 (S.D. Fla. 2008)).

        The Absentee Ballot Law is Michigan’s only statute specifically protecting

  against “fraud or abuse in the application process on the front end.” Id. It does this

  by encouraging accountability and increasing the chance that persons collecting

  application for absentee ballots are civic-minded, known to the state, and subject to

  Michigan’s subpoena power. See id. (accepting this argument and saying the law is

  “designed to promote accountability on the part of those handling the applications

  and faith in the absentee voting system”). These are “well-recognized means” of

  preventing absentee ballot fraud. The Absentee Ballot Law, like the Voter

  Transportation Law, is a “prophylactic rule intended to prevent the potential for

  fraud where enforcement is otherwise difficult.” Priorities I, 978 F.3d at 985; cf.

  Brnovich, 141 S. Ct. at 2348 (rejecting Voting Rights Act challenge to absentee

  ballot collection restriction: “Fraud is a real risk that accompanies mail-in voting

  even if Arizona had the good fortune to avoid it. Election fraud has had serious

  consequences in other States. . . . [T]the Arizona Legislature was not obligated to

  wait for something similar to happen closer to home.”).

        In sum, “the Absentee Ballot Law is constitutional.” See Priorities USA, 487

  F. Supp. 3d at 612. The Court should grant the Legislature judgment on the pleadings


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  as to Count II.

               2. Count VI: The Voter Transportation Law minimally burdens
                  Plaintiffs’ First Amendment rights and furthers compelling state
                  interests.

        Plaintiffs claim that the Voter Transportation Law “burdens core political

  expression and acts as a ban on political expenditures.” ECF No. 17, PageID.122.

  Originally, this Court partially agreed, holding that exacting scrutiny was the

  appropriate standard. See Priorities USA, 462 F. Supp. 3d at 812. It further held that

  Plaintiffs “stated a claim that the Voter Transportation Law is not substantially

  related to preventing quid pro quo corruption, or” the “undue influence” of voters.

  Id.

        But the Sixth Circuit disagreed: “Although we did not specifically discuss the

  voter-advocacy organizations’ First Amendment argument in our October order, we

  did not—and still do not—find it likely to succeed.” Priorities II, 2021 WL 3044270,

  at *2 n.3 (cleaned up). After articulating the Anderson-Burdick framework, the Sixth

  Circuit explained:

        The appellees do not seem likely to shoulder th[eir] heavy burden. The
        [Voter Transportation Law] is likely not a severe burden on their rights
        because it does not appear to result in “exclusion or virtual exclusion”
        from the ballot. Libertarian Party of Ky. v. Grimes, 835 F.3d 570, 574
        (6th Cir. 2016). The state’s interest in preventing potential voter fraud
        is an important regulatory interest. Crawford, 553 U.S. at 196. And
        prohibiting paid vote-hauling is likely a reasonable, nondiscriminatory
        restriction justified by that interest. See Ohio Democratic Party, 834
        F.3d at 631 (holding that Ohio’s limitation of its early-voting period
        was at most “minimally burden-some on the right of some African-


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        American voters”); Crawford, 553 U.S. at 198–99 (holding that the
        “inconvenience of making a trip to the [Bureau of Motor Vehicles],
        gathering the required documents, and posing for a photograph surely
        does not ... even represent a significant increase over the usual burdens
        of voting,” even though “a somewhat heavier burden may be placed on”
        the elderly, poor, or homeless). Compared to those examples,
        Michigan’s law requiring get-out-the-vote organizers to get people to
        the polls other than by hired vehicle does not appear to pose an
        unconstitutional burden. “And even assuming that the burden may not
        be justified as to a few voters, that conclusion is by no means sufficient
        to” warrant invalidating the law altogether. Crawford, 553 U.S. at 199–
        200.

  Priorities II, 2021 WL 3044270, at *2 n.3 (cleaned up). In short, the Voter

  Transportation Law’s “minimally burdensome” nature, weighed against its clear

  intent and effect of discouraging vote-hauling, does not unconstitutionally burden

  Plaintiffs’ First Amendment rights. Id.

        The Sixth Circuit reached and articulated the correct constitutional standard

  of review because the Plaintiffs argued that the court could affirm this Court’s

  injunction of the Voter Transportation Law on the alternative ground of their

  constitutional claims. See Priorities USA, et al. v. Nessel, Nos. 20-1931, Appellees’

  Brief, Doc. 44 at 65-66 (6th Cir. April 16, 2021). This makes the articulation a

  holding. And that it is an alternative holding doesn’t matter—it is still the law of the

  case. See Howe v. City of Akron, 801 F.3d 718, 740 (6th Cir. 2015) (noting that in

  appeals of preliminary injunctions, the likelihood-of-success-on-the-merits holding

  and any alternative holding are considered the law of the case). For these reasons,

  the Court should grant the Legislature judgment as to Count VI.

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        C. Counts IV and VIII: Plaintiffs’ preemption claims fail.

               1. Count IV: Plaintiffs’ Absentee Ballot Law preemption claim fails
                  because the law doesn’t conflict with any federal objective and the
                  claim rests entirely on alleged injuries to unrelated third parties.

        Count IV alleges that the Absentee Ballot Law “conflicts with and violates

  Section 208 of the Voting Rights Act.” Amended Complaint, ECF No. 17,

  PageID.118. Section 208 says: “Any voter who requires assistance to vote by reason

  of blindness, disability, or inability to read or write may be given assistance by a

  person of the voter’s choice, other than the voter’s employer or agent of that

  employer or officer or agent of the voter’s union.” 52 U.S.C. § 10508. Plaintiffs

  claim the Absentee Ballot Law “unlawfully . . . prohibit[s] voters who need help

  returning their absentee ballot applications from receiving assistance from the person

  of their choice.” Id. at PageID.119–20.

        As this Court has held, Section 208’s plain language contradicts Plaintiffs’

  position. In Section 208, Congress provided that “certain specified voters . . . may

  be given assistance by a person of the voter’s choice . . . . Section 208 does not say

  that a voter is entitled to assistance from the person of his or her choice or any person

  of his or her choice.” Priorities USA, 487 F. Supp. 3d at 619 (cleaned up) (emphasis

  in original). Because Congress “declined to use a definite article,” the “language

  suggests that some state law limitations on the identity of persons who may assist

  voters is permissible.” Id. This is consistent with the statute’s legislative history,



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  which recognizes that Section 208’s preemption scope was intended to be limited to

  those state laws that “unduly burden the right” to vote. Id. Therefore, Plaintiffs can

  only succeed on this claim if they assert an injury flowing from an “undue burden”

  imposed by the Absentee Ballot Law.

        But Plaintiffs’ preemption claim here does not rely upon alleged injuries to

  Plaintiffs as organizations—after all, these organizations cannot vote. Instead, the

  preemption claim rests upon alleged injuries to unrelated third parties: “low income

  voters, elderly voters, disabled voters, and voters for whom English is their second

  language.” Priorities USA, 487 F. Supp. 3d at 619. This Court denied Plaintiffs’

  request for a preliminary injunction on this claim because, in part, Plaintiffs “offer

  no examples of instances in which such voters have been deprived of voting

  assistance.” Id. at 620.

        This holding is correct. Because Plaintiffs “cannot meet the Supreme Court’s

  prudential standing requirements,” they cannot “advance the legal rights of others.”

  ECF No. 59, PageID.982. In Fair Elections Ohio v. Husted, the Sixth Circuit

  explained that “[a] party ‘generally must assert his own legal rights and interests and

  cannot rest his claim to relief on the legal rights or interests of third parties.”’ 770

  F.3d 456, 461 (6th Cir. 2014). Like the plaintiff organizations in Husted, Plaintiffs

  rest Count IV exclusively on claimed injuries to “individuals not even presently

  identifiable.” Id. And they fail to identify “any other basis for standing” to assert


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  Count IV. Id.; see Amended Complaint, ECF No. 17, Page ID.118–21 (preemption

  allegations relying exclusively on unidentified third-party injuries). Accord DSCC

  v. Simon, 950 N.W.2d 280, 290 (Minn. 2020) (evaluating ballot collection restriction

  preemption claim based on claimed injuries to voters with language impairments or

  disabilities, not ballot collectors). Importantly, given that this is a Rule 12(c) motion,

  the Court may consider only the Amended Complaint’s allegations. But the only

  injuries alleged there are on behalf of third parties. Hypothetical injuries to

  unidentified third parties are simply not enough to establish standing. See Swaab v.

  Calm.com, No. 20-cv-11199, 2021 WL 228902, at *2 (E.D. Mich. Jan. 22, 2021).

  Further, Plaintiffs “cannot cure [a failure to state a claim] by inserting the missing

  allegations in a document that is not either a complaint or an amendment to a

  complaint.” Id. So any attempt to cure this deficiency using their response would be

  futile.

            This Court already dismissed Counts III and VII because Plaintiffs can’t get

  standing from unidentified and hypothetical third parties. For the same reason, the

  Court should award the Legislature judgment as to Count IV.

                  2. Count VIII: Plaintiffs are voluntarily dismissing their FECA
                     Voter Transportation Law preemption claim.

            Given the Sixth Circuit’s opinions, Plaintiffs have decided that their FECA

  Voter Transportation Law preemption claim is no longer viable and, thus, Plaintiffs




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  are voluntarily dropping it. See Rule 26(f) Report, ECF No. 109, PageID.1852-1853.

  Accordingly, the Court should dismiss Count VIII.

  V.    CONCLUSION

        For all these reasons, the Court should grant the Legislature’s motion and

  award it judgment on the pleadings.

                                        Respectfully submitted,

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